                Case 3:19-cr-00658-JD Document 82 Filed 11/10/20 Page 1 of 5




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14   UNITED STATES OF AMERICA,                        )   CASE NO. 19-CR-658 JD
                                                      )
15           Plaintiff,                               )   UNITED STATES’ MEMORANDUM IN
                                                      )   SUPPORT OF DISMISSAL WITHOUT
16      v.                                            )   PREJUDICE
                                                      )
17   SATTAR QURAISH,                                  )
                                                      )
18           Defendant.                               )
                                                      )
19

20           In response to the Court’s request for briefing (ECF No. 81), the United States of America, by
21 and through its counsel of record, hereby files this memorandum in support of its request for leave to

22 dismiss the above-captioned indictment and superseding indictment without prejudice.

23 I.        ARGUMENT
24           Federal Rule of Criminal Procedure 48(a) provides in pertinent part that “[t]he government may,
25 with leave of court, dismiss an indictment, information, or complaint.” Although Rule 48(a) is silent on

26 whether any such dismissal should be with or without prejudice, the Ninth Circuit Court of Appeals has

27 recognized that “[d]ismissals by the government are generally presumed to be without prejudice,”

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     MEMORANDUM ISO DISMISSAL WITHOUT
     PREJUDICE                                       1
     19-CR-658 JD
                 Case 3:19-cr-00658-JD Document 82 Filed 11/10/20 Page 2 of 5




 1 United States v. Brown, 425 F.3d 681, 682 (9th Cir. 2005), and instructed that district courts are “duty

 2 bound” to grant Rule 48(a) motions to dismiss without prejudice unless the court “specifically

 3 determines that the government is operating in bad faith” in pursuing the motion. United States v.

 4 Hayden, 860 F.2d 1483, 1487 (9th Cir. 1988) (“If the district court finds that the prosecutor is acting in

 5 good faith in making its Rule 48(a) motion, it should grant the motion . . . .”); United States v. Wallace,

 6 848 F.2d 1464, 1468 (9th Cir. 1988) (“A fundamental consideration in assessing the propriety of a

 7 prosecutor’s dismissal motion is whether the motion is made in good faith”) (internal quotations

 8 omitted). 1

 9          Importantly, the leave-of-court requirement in Rule 48(a) is not intended to impute to the

10 government the burden of proving good faith. The government merely must articulate a factual basis for

11 the requested dismissal, and, once it has done so, it is entitled to a presumption of good faith. See

12 United States v. Armstrong, 517 U.S. 456, 464 (1996) (a presumption of regularity supports the

13 prosecutorial decisions of the government); United States v. Dyal, 868 F.2d 424, 428 (11th Cir. 1989)

14 (“We conclude that, in the dismissal of an indictment, information or complaint under Rule 48(a), the

15 government is entitled to a presumption of good-faith.”); United States v. Welborn, 849 F.2d 980, 983-

16 84 (5th Cir. 1988) (“When a court considers a prosecutor’s motion to dismiss it must begin with the

17 presumption that the prosecutor acted in good faith . . . [t]his presumption is rooted in a proper respect

18 for the constitutional division of power between the executive and judicial branches of government.”);

19 United States v. Jacobo-Zavala, 241 F.3d 1009, 1012 (8th Cir. 2001) (“[T]he presumption of regularity

20 supports [the government’s] prosecutorial decisions and, in the absence of clear evidence to the contrary,

21 courts presume that the[ ] [government] ha[s] properly discharged [its] official duties.”). 2

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            1
23          Rule 48(b) is not at issue here. It gives courts the power to dismiss if “unnecessary delay”
   occurs during any of the enumerated proceedings set forth in sub-sections (1)-(3), and such delay results
24 in prejudice. Even under Rule 48(b), however, the Ninth Circuit has held that “such power should be
   utilized with caution . . . .” United States v. Simmons, 536 F.2d 827, 836 (9th Cir. 1976); see also
25 United States v. Yuan Qing Jiang, 214 F.3d 1099, 1101 (9th Cir. 2000) (a Rule 48(b) dismissal “should
   be imposed only in extreme circumstances,” particularly “when a dismissal is with prejudice”) (internal
26 quotations omitted).

27          2
            See also United States v. Araiza, No. CR-05-2084-LRS-3, 2008 WL 2152230, at *1 (E.D.
   Wash. May 21, 2008) (“In seeking a Rule 48(a) dismissal, the government is entitled to a “presumption
28 of good faith.”) (quoting United States v. Welborn, 849 F.2d 980, 984 (5th Cir. 1988)); United States v.
     MEMORANDUM ISO DISMISSAL WITHOUT
     PREJUDICE                                        2
     19-CR-658 JD
                Case 3:19-cr-00658-JD Document 82 Filed 11/10/20 Page 3 of 5




 1          Indeed, due to issues involving the separation of powers, the Ninth Circuit has found that that the

 2 courts’ supervisory role under Rule 48(a) is limited. Hayden, 860 F.2d at 1487 (“While the judiciary has

 3 been authorized to supervise prosecutorial decisions to dismiss, Rule 48(a) was not enacted for the

 4 purpose of usurping the traditional role of the prosecutor to determine whether to terminate a pending

 5 prosecution.”); see also United States v. Gonzalez, 58 F.3d 459, 462 (9th Cir. 1995) (finding that

 6 because “[t]he decision to dismiss an indictment implicates concerns that the Executive is uniquely

 7 suited to evaluate,” district courts should “grant considerable deference” to a prosecutor’s request for

 8 dismissal.”). Accordingly, the presumption of good faith is not easy to overcome and requires, for

 9 example, evidence of an attempt on the part of the government to bypass the denial of a continuance to
10 gain a tactical advantage (see, e.g., Hayden, 860 F.2d at 1488–89); evidence that the dismissal is

11 motivated by an “intention that defense witnesses become unavailable” (United States v. Gomez-

12 Martinez, No. 10CR2157-BTM, 2011 WL 2132721, at *2 n.2 (S.D. Cal. May 26, 2011)); or evidence

13 that the dismissal is being used to obtain a “better” jury (United States v. Salinas, 693 F.2d 348, 351 (5th

14 Cir. 1982)). 3

15          None of these facts or circumstances (or any like them) is present here, nor is there any other

16 evidence in the record that the government is seeking dismissal in this case for an improper purpose.

17 The government has articulated the factual basis for its requested dismissal, namely, that without the

18 expert testimony of its disclosed expert witness on narcotics distribution, it does not believe it has

19 sufficient evidence at this time to prosecute the defendant. This is “a valid, non-conclusory reason for

20 dismissal,” and nothing more is required. Araiza, 2008 WL 2152230, at *1 (entering dismissal without

21 prejudice where government’s request was based on its representation that without the testimony of a

22 confidential informant, it did not believe it had sufficient evidence to prosecute the defendant); see also

23 United States v. Maximov, No. CR-08-368-PHX-DGC, 2009 WL 5174983, at *2 (D. Ariz. Dec. 17,

24
   Bringas-Beltran, No. CR-07-1332-PHX-DGC, 2008 WL 2937780, at *1 (D. Ariz. July 23, 2008) (“In
25 seeking dismissal under Rule 48(a), the Government is entitled to a presumption of good faith.”)
   (internal quotations omitted) (citing United States v. Garcia–Valenzuela, 232 F.3d 1003, 1007 (9th Cir.
26 2000) (stating that “the presumption of regularity supports . . . prosecutorial decisions”).
            3
27          Other examples of bad faith or improper motive (also not present here) include seeking
   dismissal due to “bribery, inconvenience to the prosecutor, or personal dislike for the victim of a crime.”
28 Jacobo-Zavala, 241 F.3d at 1014 (citing United States v. Hamm, 659 F.2d 624, 629-30 (5th Cir. 1981)).
     MEMORANDUM ISO DISMISSAL WITHOUT
     PREJUDICE                                        3
     19-CR-658 JD
                  Case 3:19-cr-00658-JD Document 82 Filed 11/10/20 Page 4 of 5




 1 2009) (granting dismissal without prejudice and finding no bad faith where prosecutor sought dismissal

 2 on eve of trial after explaining that while preparing for trial only days earlier, he discovered

 3 discrepancies between the testimony an FBI agent would give at trial and the testimony she gave to the

 4 grand jury that indicted the defendant); United States v. W.R. Grace, 429 F. Supp. 2d 1207, 1247 (D.

 5 Mont. 2006) (granting dismissal without prejudice and finding no improper purpose where government

 6 requested dismissal due to failure to allege an essential element of the charged count).

 7          The defense is likely to argue that dismissal without prejudice would permit prosecutorial

 8 harassment due to the possibility of a future prosecution for the same offenses, resulting in a cloud of

 9 uncertainty that would follow the defendant. This argument is wrong. “Rule 48(a) allows the
10 government, provided it is not acting in bad faith, to dismiss an indictment without prejudice and later to

11 reindict based on the same or similar charges.” Hayden, 860 F.2d at 1488; see United States v. Raineri,

12 42 F.3d 36, 43 (1st Cir. 1994) (“Customarily Rule 48(a) dismissals are without prejudice and permit the

13 government to reindict within the statute of limitations”). The fact that a defendant might be reindicted

14 is not evidence of bad faith, and it does not—in and of itself—provide a basis for denying the

15 government’s request for dismissal without prejudice and imposing in its place a dismissal with

16 prejudice. 4

17          Finally, the government anticipates that the defense will argue that it is entitled to additional

18 discovery on the issue of whether this action should be dismissed with prejudice. Not so. The United

19 States produced all required discovery in accordance with Federal Rule of Criminal Procedure 16 (and

20 its discovery obligations under Brady, Giglio, and the Jenks Act) prior to entering a request for dismissal

21 on November 3, 2020. The Court has stated that it intends to grant the dismissal (see ECF No. 81). No

22 further production of discovery therefore is warranted. See United States v. Pub. Warehousing Co.

23 K.S.C., No. 1:09-CR-490-TWT/AJB, 2010 WL 6397552, at *5 (N.D. Ga. Oct. 5, 2010), report and

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25          4
            The Ninth Circuit has recognized that “[c]riminal defendants are not entirely unprotected”
26 during the period following dismissal without prejudice and potential reindictment because “[c]laims of
   prejudicial delay may be scrutinized under the due process clause of the fifth amendment” and
27 “[d]efendants are also protected by the applicable statute of limitations.” Hayden, 860 F.2d at 1486.
   Moreover, if a case is dismissed without prejudice and later reindicted, the defendant “retains the right
28 upon reindictment to have the [original dismissal] ruling reviewed.” Welborn, 849 F.2d at 984.
     MEMORANDUM ISO DISMISSAL WITHOUT
     PREJUDICE                                        4
     19-CR-658 JD
                Case 3:19-cr-00658-JD Document 82 Filed 11/10/20 Page 5 of 5




 1 recommendation adopted sub nom. United States v. Agility DGS Holdings, Inc., 2011 WL 1193974

 2 (N.D. Ga. Mar. 30, 2011) (noting the defendant had “pointed to no authority, and the Court has not

 3 located any, which requires a defendant who is, has been or is going to be dismissed from a criminal

 4 action to nonetheless receive Rule 16 discovery materials.”) 5; United States v. Sjodin, No. CR-09-080-

 5 LRS, 2009 WL 2495193, at *1 (E.D. Wash. Aug. 12, 2009) (granting government’s motion to dismiss

 6 without prejudice and ordering government to preserve all evidence related to its discovery obligations

 7 under Rule 16 in the event of reindictment).

 8 II.      CONCLUSION

 9          The government’s request for dismissal without prejudice was brought in good faith and is not

10 being made for an improper purpose. The mere possibility that the defendant could be reindicted is not

11 a basis upon which to deny the request or otherwise impose a dismissal with prejudice. Consequently,

12 the government respectfully requests that this Court dismiss the indictment and superseding indictment

13 without prejudice.

14 DATED: November 10, 2020                                      Respectfully submitted,

15                                                               DAVID L. ANDERSON
                                                                 United States Attorney
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18                                                               MARJA-LIISA OVERBECK
                                                                 Assistant United States Attorney
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25          There, the defendant accused the government of dismissing to avoid complying with a
   discovery order, and requested that the government turn over the requested materials before entering a
26 dismissal. The court stated that it failed to “see how the Government obtained a tactical advantage by
   withholding discovery production from [the defendant] once the Government decided not to continue to
27 pursue charges against it,” and further noted that “[i]n the event [the defendant] is re-indicted, it will
   obtain the full panoply of discovery rights under the Federal Rules of Criminal Procedure and the
28 Constitution.” Id. So too here.
     MEMORANDUM ISO DISMISSAL WITHOUT
     PREJUDICE                                       5
     19-CR-658 JD
